           Case 2:11-cv-01509-TMP Document 159 Filed 01/25/18 Page 1 of 2                               FILED
                                                                                               2018 Jan-25 AM 10:38
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                            THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

THE BANK OF NEW YORK                                  )
MELLON TRUST COMPANY, N.A.,                           )
as Indenture Trustee,                                 )
                                                      )
          Plaintiff,                                  )
                                                      )
v.                                                    )   Case No. 2:11-cv-01509-TMP
                                                      )
SALEM NURSING & REHAB CENTER                          )
OF REFORM, INC., THE MEDICAL                          )
CLINIC BOARD OF THE CITY OF                           )
REFORM, ALABAMA, and ALTACARE                         )
CORPORATION,                                          )
                                                      )
          Defendants.                                 )

              ORDER APPROVING FINAL APPLICATION FOR ALLOWANCE
               AND PAYMENT OF ACCOUNTANT’S FEES AND EXPENSES

          This case is before the Court on the Final Application for Allowance and Payment of

Accountant’s Fees and Expenses [Doc. 152] (the “Application”), filed by Elliott Davis Decosimo

LLC, f/k/a Joseph Decosimo and Company, PLLC, for services rendered to Derek Pierce of

Healthcare Management Partners, LLC, as court appointed Receiver (the “Receiver”), pursuant

to this Court’s March 18, 2014 Order Appointing Receiver (the “Receiver Order”).                No

Opposition to the Application has been presented to the Court.

          After considering the nature and extent of the services rendered, determining the value of

those services and considering authority granted in the Receiver Order and applicable law, the

Court finds the fees and expenses set forth in the Application to be reasonable and beneficial to

the Receivership Estate and are due to be paid to the Receiver from assets of the Receivership

Estate.

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       Accordingly, the Application is hereby GRANTED and APPROVED, and the Court

hereby DIRECTS that the Receiver may disburse funds to itself from the Receivership Estate in

the aggregate amount of $8,824.00.



       DONE and ORDERED on January 25, 2018.




                                          _______________________________
                                          T. MICHAEL PUTNAM
                                          UNITED STATES MAGISTRATE JUDGE




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